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1     Rule 4 of the Federal Rules of Civil Procedure states that the defendant must
2     serve an answer or motion within the time specified in the summons. Rule
3     71.1(d)4 states that delivering the notice to the clerk and serving it have the
4     same effect as serving a summons under Rule 4. If the defendant fails to
5     respond to the summons, the clerk may enter a default judgment against the
6     defendant in accordance with Rule 55(a) of the Federal Rules of Civil
7     Procedure. Additionally, Rule 71.1(d) provides that a defendant waives all
8     objections and defenses not stated in its answer and no other pleading or
9     motion asserting an additional objection or defense are allowed in eminent
10    domain cases. The application for default judgment in the amount of
11    $32,400,000 will be filed after the request for entry of default has been
12    entered. (Emphasis added)
13
14    In summary, the defaulting party was properly served with the complaint or
15    other pleading seeking affirmative relief, the defaulting party has failed to
16    serve or file a responsive pleading or motion and the applicable time for
17    serving a responsive pleading or motion, including any extensions, has
18    expired.
19
20    THEREFORE, Plaintiff requests entry of default.
21
22    “I declare (or certify, verify, or state) under penalty of perjury under the laws
23    of the United States of America that the foregoing is true and correct.
24
25
26
27    Clinton Brown                                                1/13/2022
28



                                                 2
                                    Request for Entry of Default
